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     Telephone: (916) 422-4022
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 5
 6                        IN THE UNITED STATES DISTRICT COURT

 7                     FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
                                                 )
 9   UNITED STATES OF AMERICA,                   ) Case No.: 2:16-MJ-0094-AC
                                                 )
10                 Plaintiff,                    )
                                                 )
11        vs.                                    ) DEFENDANT’S WAIVER OF
     DUC TAI LE,                                 ) APPEARANCE
12                                               )
                   Defendant.                    )
13                                               )
14
15          Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, the Defendant,

16   Duc Tai Le, hereby waives the right to be personally present in open court upon the

17   hearing of any motion or other proceeding in this case, except for any proceeding which

18   Defendant’s presence is required such as a plea, any proceeding during the trial, and

19   sentencing, or any court appearance which the Court orders Defendant to be present.

20   Defendant hereby requests the Court to proceed during every absence of his presence

21   which the Court may permit pursuant to this waiver. Defendant agrees that his interests

22   will be deemed represented at all times by the presence of his attorney, the same as if

23   Defendant were personally present, and further agrees to be present in court ready for

24   trial any day and time the Court may arrange in his absence.

25          The Defendant further acknowledges that he has been informed of his rights under

26   Title 18 U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorney to set times

27   and delays under that Act without Defendant being present.

28



                                Waiver of Appearance             -1-
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     DATE: August 5, 2016                                       /s/ Duc Tai Le1
 1                                                              DUC TAI LE
                                                                Defendant
 2
 3   I agree with and consent to my client’s waiver of appearance.
 4
 5   DATE: August 5, 2016
                                                                /s/ Kristy Kellogg
 6                                                              KRISTY KELLOGG
                                                                Attorney for Duc Tai Le
 7
 8
 9              IT IS SO ORDERED.
10
     Dated: August 5, 2016
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     1
         The original signature is maintained in the client’s file.



                                            Waiver of Appearance                  -2-
